Case 5:18-Cv-00333-|\/| Document 1-2 Filed 04/12/18 Page 1 of 4

EXHIBIT 2

_ Case 5:18-0\/- 00333- |\/| Document 1- 2 Filed 04/12/18 Page 2 of 4

’ llttt\tllllt\ \lll\\tlll mt§§ mt<ést\`:~>" m

\ 3910¢02&* @{‘5;::

iN THE DISTRICT CoURT oF oKLAHoMA CoUNTY MAR 21 ama

STATE ()F OKLAHOMA R[CK WRREN
rm tg'r W¢t RRK

36 _, rt
Plaintiff, CJ" 2018 "'1 5 7 6

v. Case No: CJ~l7-l()87

*5_

 

 

 

STEPHANIE FLEMING,

LIBERTY MUTUAL FIRE INSURANCE
COMPANY,

Defendant. JURY TRIAL DEMANDED

 

 

PETITION

 

COME NOW the Plaintiff, Stephanie Fleming, and for her Petition against Defendant,
Liberty Mutual Fire Insurance Company, alleges and states:

1. At all times material hereto Plaintist home was insured by Defendant Liberty
Mutual Fire insurance Company, policy no. 1“13729168981240 and the policy was in force at all
times material hereto.

2. Plaintifi’s horne was damaged by a covered loss on November 22, 2017.

5. Defendant received timely notice of this covered loss and Plaintifi’s request for
insurance policy benefits Plaintiff cooperated with any and all requests from Defendant for
investigation of the loss.

6. This loss was a covered loss under Plaintiff’s insurance policy with Defendant
which entitled Plaintiff to dwelling and personal property coverage benefits

7. Defendant breached the insurance agreement and the implied covenant of good
faith and fair dealing by refusing to properly adjust this claim and properly assess and pay the

full amount of damage to the structure and contents

. Case 5:18-cv-00333-|\/| Document 1-2 Filed 04/12/18 Page 3 of 4

8. ln their handling of the Plaintiff claim and as a matter of standard business

practice, Defendant breached the insurance contract and the implied covenant of good faith and

fair dealing by:

a.

i.

failing and refusing full and proper payment and other policy benefits on
behalf of Plaintiff at a time when Defendant knew that it was entitled to
those benefits;

failing to properly investigate Plaintiff claims and to obtain additional
information both in connection with the original refusal and following the
receipt of additional information;

withholding payment of the benefits on behalf of Plaintiff knowing that
Plaintiff’s claims for those benefits were valid;

intentionally refusing to acknowledge the full extent of damage to
Plaintiff’ s home;

intentionally misleading Plaintiff as to the full extent of damage to
Plaintiff’ s home;

refusing to honor Plaintiff" claims in some instances by knowingly
misconstruing and misapplying provisions of the policy;

failing to adopt and implement reasonable standards for the prompt
investigation and reasonable handling of claims arising under these
policies, to include Plaintit`f" claims;

not attempting in good faith to effectuate a prompt, fair and equitable
settlement of Plaintist claims once liability had become reasonably clear;

and,

failing to properly evaluate any investigation that was performed;

all in violation of the contract and covenant of good faith and fair dealing and resulting in a

financial benefit to Defendant.

9. Plaintiff has suffered emotional distress, embarrassment and financial loss as a

direct result of the above described actions by Defendant.

Case 5:18-cv-00333-|\/| Document 1-2 Filed 04/12/18 Page 4 of 4

l(). The actions of Defendant were reckless and wanton or intentional and with malice
entitling Plaintiff to punitive damages

WHEREFORE, Plaintiff prays for judgment against the Defendant, Liberty Mutual Fire
lnsurance Cornpany, for both compensatory damages and punitive damages, with interest and
costs of this action, for a reasonable attorney fee, and for such other relief as may be appropriate
The amount sought as damages in in excess of the amount required for diversity jurisdiction
pursuant to §1332 of Title 28 of the United States Code.

.4'/

MANsE%§NGaL & _Co _a

 

, g /

 

steven s./Mans<»L,/oBA #10534

Mark A. Engel, OBA #10796

Kenneth G. Cole, OBA #l 1792

M. Adam Engel, OBA #32384

l()l Park Avenue, Suite 665

Oklahoma City, OK 73102-7203

T: (405) 232-4100 ** F: (405) 232-4140
Firm Email: mec@meclaw.net

 

ATTORNEYS FOR PLAINTIFF
JURY TR,lAL DEMANDED
ATTORNEY LIEN CLAIMED

